      Case 13-44127                   Doc 98
 Fill in this information to identify the case:
                                                   Filed 05/19/17        Entered 05/19/17 15:27:13                    Main Document
                                                                       Pg 1 of 6
 Debtor 1              Venita Davidson
                       __________________________________________________________________

 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Eastern             MO
 United States Bankruptcy Court for the: __________ District of __________

 Case number            13-44127-399
                        ___________________________________________




2IILFLDO)RUP 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
                       Christiana Trust, a division of Wilmington Savings Fund
                       Society, FSB, as indenture trustee, for the CSMC 2014-
  Name of creditor: _______________________________________                                                 20
                       RPL2 Trust, Mortgage-Backed Notes, Series 2014-RPL2 Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           6 ____
                                                         ____ 4 ____
                                                                  1 ____
                                                                      2              Must be at least 21 days after date       07/01/2017
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                             $1,579.11
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
       No
      ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
      
                   the basis for the change. If a statement is not attached, explain why: ___________________________________________
                   __________________________________________________________________________________________________

                                                   $509.56
                   Current escrow payment: $ _______________                       New escrow payment:                 $557.83
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment

 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
      ✔
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      ✔
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                           page 1

                                                                                                                                     MS 112366
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Debtor 1         Venita   Davidson
                 _______________________________________________________                                           13-44127-399
                                                                                               Case number (if known) _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.
     ✔
          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



 8 /s/ William T. Holmes, II
     _____________________________________________________________
     Signature
                                                                                               Date    05/19/2017
                                                                                                       ___________________




 Print:             William T. Holmes, II, #59759, #59759MO
                    _________________________________________________________                  Title   Attorney  for Creditor
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            Millsap & Singer, LLC
                    _________________________________________________________



 Address            612 Spirit Drive
                    _________________________________________________________
                    Number                 Street

                    St.Louis, MO 63005
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      (636) 537-0110
                    ________________________                                                          bkty@msfirm.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                           page 2
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                         UNITED STATES BANKRUPTCY COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

 In The Matter Of:                          )
                                            )         Case Number 13-44127-399
 Venita Davidson                            )
                                            )
     Debtor,                                )         Chapter 13
                                            )
 Christiana Trust, a division of Wilmington )
 Savings Fund Society, FSB, as indenture )
 trustee, for the CSMC 2014-RPL2 Trust, )
 Mortgage-Backed Notes, Series 2014-        )
 RPL2                                       )
                                            )
     Creditor,                              )
                                            )

                                CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing document was filed
 electronically on May 19, 2017, with the United States Bankruptcy Court, and has been
 served on the parties in interest via e-mail by the Court pursuant to CM/ECF as set out
 on the Notice of Electronic filing as issued by the Court or in the alternative has been
 served by depositing a true and correct copy of same enclosed in a postage prepaid,
 properly addressed envelope, in a post office official depository under the exclusive
 care and custody of the United States Postal Service within the state of Missouri on
 those parties directed by the Court on the Notice of Electronic Filing issued by the Court
 as required by the Federal Rules of Bankruptcy Procedure and the Local Rules of the
 United States Bankruptcy Court.

                                              /s/ William T. Holmes, II


 Electronic Mail Notice List

 The following is the list of attorneys who are currently on the list to receive e-mail
 notices for this case.

        David Nelson Gunn

        Diana S. Daugherty

        Office of the United States Trustee


                                           1                              MS 112366.311680 BK
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 Manual Notice List

 The following is a list of parties who are not on the list to receive e-mail notices for this
 case (who therefore require manual noticing).

        Venita Davidson
        1275 Chateau Woods Drive
        Ferguson, MO 63135




                                            2                              MS 112366.311680 BK
